                                           Case 17-19348-RAM                           Doc 1       Filed 07/26/17             Page 1 of 48


 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)                                                                     Chapter 7
                                                                                                                                                Check if this an
                                                                                                                                                amended filing



Official Form 105
Involuntary Petition Against an Individual                                                                                                                                  12/15
Use this form to begin a bankruptcy case against an individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against a Non-individual (Official Form 205). Be as complete and accurate as possible. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write name and case number (if known).

 Part 1:       Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
 1. Chapter of the Bankruptcy                   Check one:
    Code
                                                             Chapter 7
                                                             Chapter 11
 Part 2: Identify the Debtor
 2. Debtor's full name Kolawale
                        First name

                                Middle name
                                 Aluko
                                Last name

                                Suffix (Sr., Jr., II, III)

 3. Other names you
    know the debtor
    has used in the last
    8 years

     Include any
     assumed, married,
     maiden, or trade
     names, or doing
     business as names.


 4. Only the last 4 digits of                      Unknown
    debtor's Social Security
    Number or federal Individual                xxx - xx -                                        OR    9xx - xx -
    Taxpayer Identification
    Number (ITIN)

 5. Any Employer Identification Numbers (EINs)                         Unknown
    used in the last 8 years
                                                                     EIN

                                                                     EIN

  6. Debtor's address                    Principal residence                                                    Mailing address, if different from residence
                                          3329 Flamingo Dr
                                         Number                 Street                                               Number           Street

                                           Miami Beach                         FL           33140
                                         City                                  State        Zip Code                 City                          State            Zip Code
                                            Miami-Dade
                                         County
                                         Principal place of business

                                         Number                 Street

Official Form 105                                                          Involuntary Petition Against an Individual                                                    page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                                           Case 17-19348-RAM                         Doc 1       Filed 07/26/17             Page 2 of 48

 Debtor                                                                                                               Case number (if known)



                                         City                               State         Zip Code

                                         County


 7. Type of business                         Debtor does not operate a business:

                                        Check one if the debtor operates a business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A)
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A)
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6)
                                          None of the above



 8. Type of debt                         Each petitioner believes:
                                            Debts are primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual
                                         primarily for a personal, family, or household purpose."
                                            Debts are primarily business debts. Business debts are debts that were incurred to obtain money for a business or
                                         investment or through the operation of the business or investment.

 9. Do you know of                No
    any bankruptcy                Yes                 Debtor         Earnshaw Associates Ltd. BVI                            Relationship      former owner
    cases pending
    by or against any                                 District        SD FL                 Date filed   07//03//2017        Case number, if known       17-18432 RAM
    partner, spouse,                                                                                     MM / DD / YYYY
    or affiliate of this
    debtor?

                                                      Debtor         One57 79 Inc.        NY                                 Relationship     former owner
                                                      District        SD FL                 Date filed   07/03/2017          Case number, if known 17-18433 RAM
                                                                                                         MM / DD / YYYY

 Part 3: Report About the Case
 10. Venue                                      Check one:

       Reason for filing in this court.            Over the last 180 days before the filing of this bankruptcy, the debtor has resided, had the principal place of business, or
                                                had principal assets in this district longer than in any other district.
                                                   A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.
                                                   Other reason. Explain. (See 28 U.S.C. § 1408.)

 11.    Allegations                               Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                                  The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                                  At least one box must be checked:

                                                     The debtor is generally not paying such debtor's debts as they become due, unless they are the subject of a bona fide
                                                  dispute as to liability or amount.
                                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or
                                                  authorized to take charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien
                                                  against such property, was appointed or took possession.

 12. Has there been a transfer of                     No
     any claim against the debtor
     by or to any petitioner?                         Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).

 13. Each petitioner's claim Name of petitioner                                              Nature of petitioner's claim                               Amount of the claim
                                                                                                                                                        above the value of any
                                                                                                                                                        lien
                                        Campion Maverick Inc.                                                                                           $100,000 +
                                                                                                                                                        $
                                                                                                                                                        $
                                                                                                                                Total                   $
                                        If more than 3 petitioners, attach additional sheets with the statement under penalty of perjury,
                                        each petitioner's (or representative's) signature under the statement, along with the signature of
                                        the petitioner's attorney, and the information on the petitioning creditor, the petitioner's claim,
                                        the petitioner's representative, and the attorney following the format on this form.

 Official Form 105                                                      Involuntary Petition Against an Individual                                                    page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                                           Case 17-19348-RAM                     Doc 1        Filed 07/26/17             Page 3 of 48

 Debtor                                                                                                              Case number (if known)
 Part 4: Request for Relief
Petitioners request that an order for relief be entered against the debtor under the chapter specified in Part 1 of this petition. If a petitioning creditor is a corporation,
attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign proceeding, a
certified copy of the order of the court granting recognition is attached.

Petitioners declare under penalty of perjury that the information provided in this petition is true and correct. Petitioners understand that if they make a false
statement, they could be fined up to $250,000 or imprisoned for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571. If relief is not ordered, the court may award attorneys' fees, costs, damages, and punitive damages. 11 U.S.C. § 303(i).

     Petitioners or Petitioners' Representative                                              Attorneys

                                                                                                    s/s: Joel M. Aresty
 Signature of petitioner or representative, including representative's title                     Signature of attorney

    Campion Maverick Inc.                                                                             Joel M. Aresty
 Printed name of petitioner                                                                      Printed name
 Date signed      07/25/2017                                                                         Joel M. Aresty P.A.
                 MM / DD / YYYY                                                                  Firm name, if any
                                                                                                     930 1st Ave S
 Mailing address of petitioner                                                                   Number           Street
     9551 East Bay Harbor Dr                                                                         Tierra Verde                               FL             33715
 Number           Street                                                                         City                                         State       Zip Code
                                                                                                 Date Signed      07/25/2017
   Bay Harbor                                        FL               33154                                       MM / DD / YYYY
 City                                            State               Zip Code                    Contact phone 305-904-1903                   Email   Aresty@mac.com


 If petitioner is an individual and is not represented by
 an attorney:
 Contact phone
 Email

 Name and mailing address of petitioner's representative, if any
 Anjum Mahmood
 Name
  5 Walnut Dr
 Number           Street
  Pinebrook                                     NJ                   07058
 City                                          State                 Zip Code




 Official Form 105                                                   Involuntary Petition Against an Individual                                                    page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
             Case 17-19348-RAM        Doc 1    Filed 07/26/17   Page 4 of 48




                             United States Bankruptcy Court
                               Southern District of Florida
                                 www.flsb.uscourts.gov

                                                        Case Number:
                                                        Chapter: 7
                                                        Involuntary
In re
Kolawale Aluko
      Alleged Debtor
_____________________________/

                                FRBP 1003(a) Statement

       Petitioning Creditor, Campion Maverick Inc., in accordance with Rule 1003(a),
states it is a transferee of a claim and annexes to the original and each copy of the
petition a copy of all documents evidencing the transfer.


       The claim was transferred unconditionally, and the claim was not transferred for
the purpose of commencing the involuntary case.


       The consideration for and terms of the transfer was to finance the collection of
the debt in return for a 33% share in collections and to return the balance to transferor.



Campion Maverick Inc.
by
____________________
Anjum Mahmood                                    JOEL M. ARESTY, P.A.
                                                 Attorneys for Petitioning Creditor
                                                 309 1st Ave S
                                                 Tierra Verde FL 33715
                                                 Fax: 800-559-1870
                                                 Phone: (305) 904-1903
                                                 Aresty@Mac.com
                                                 By:/s/ Joel M. Aresty, Esq
                                                 Fla. Bar No. 197483
                     Case 17-19348-RAM                  Doc 1       Filed 07/26/17           Page 5 of 48




                                                     Campion	  Exhibit	  Index	  
                                                                          	  
                                                                          	  
       1.   9/2012	  contract	  La	  Chorale	  and	  Ark	  Exploration	  
       2.   10/20/2012	  Debt	  settlement	  
       3.   6/28/15	  guaranty	  of	  Earnshaw	  to	  debt	  settlement	  
       4.   6/28/15	  guaranty	  One57	  79	  Inc	  to	  NH	  
       5.   11/20/15	  La	  Choral	  assigns	  to	  NH	  Consulting	  
       6.   6/13/17	  Earnshaw	  confession	  of	  judgment	  to	  NH	  
       7.   6/20/17	  assignment	  NH	  Earnshaw	  to	  Campion	  
       8.   6/20/17	  assignment	  of	  NH	  One	  57	  79	  to	  Campion	  
       9.   6/9/15	  guaranty	  of	  Aluko	  
       10.  11/12/15	  assignment	  to	  NH	  of	  Aluko	  guaranty	  
       11.  6/20/17	  assignment	  NH	  to	  Campion	  Maverick	  of	  Aluko	  guaranty	  
	  
	  
	  
	  
	  
	  
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 6 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 7 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 8 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 9 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 10 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 11 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 12 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 13 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 14 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 15 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 16 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 17 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 18 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 19 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 20 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 21 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 22 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 23 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 24 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 25 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 26 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 27 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 28 of 48
                   Case 17-19348-RAM        Doc 1     Filed 07/26/17     Page 29 of 48




                                   GUARANTY AND INDEMNITY



GUARANTY (this "Guaranty") dated June 28th, 2015 of One 57 79 Inc, a company incorporated in
New York ("Guarantor") for the benefit of NH Consulting & Engineering Sarl, an Ivory Coast
incorporated company ("Creditor").

               WHEREAS, La Chorale and Ark Exploration and Production Holdings Ltd a company
incorporated in the British Virgin Islands ("Obligor"), entered into a Settlement Agreement dated as of
October 20th, 2012 (the "Settlement Agreement"); and

               WHEREAS, La Chorale has assigned its rights to NH Consulting & Engineering Sarl
(“Creditor”); and

              WHEREAS, in order to induce Creditor to delay enforcement efforts under the
Settlement Agreement, Guarantors have agreed to guarantee all obligations of the Obligor under the
Settlement Agreement.

              NOW THEREFORE, in consideration of the foregoing, the mutual covenants and
agreements contained herein and other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, and intending to be legally bound hereby, Guarantors agree as follows:

              1.     Defined Terms. Capitalized terms used but not defined herein shall have the
meanings ascribed thereto in the Settlement Agreement.

               2.       Guarantee. Guarantor hereby unconditionally and irrevocably guarantees the
performance of the Settlement Agreement by Obligor. Accordingly, in the event Obligor does not fully
perform its obligations under the Settlement Agreement on the Delivery Date or at any time thereafter at
Creditor’s sole and absolute discretion and Creditor’s recourse to and exercise of its rights is not
sufficient, Guarantor shall step into the shoes of Obligor and deliver or cause to be delivered the
amounts due under the Settlement Agreement and/or agree to the entry of a Confession of Judgement
when demanded in writing or orally.

                3.      No presentment, etc. Guarantor hereby waives presentment, demand of payment,
filing of claims, any right to require Creditor to proceed first against Obligor, protest, notice and all
demands whatsoever and agrees that this Guaranty shall not be discharged except by complete
performance of all obligations contained in this Guaranty. The responsibility of Guarantor shall not be
affected by any settlement, extension, modification or variation of the terms of the Settlement
Agreement, or by the discharge or release of the obligations of Obligor, or any other person, by
operation of law or otherwise.

               4.     Joint and Several Liability. Guarantors hereby assume joint and several liability on
the full amounts of the debts due to Creditor in the Settlement Agreement with Obligor


              5.     Nature and preservation of liability
                    Case 17-19348-RAM         Doc 1     Filed 07/26/17     Page 30 of 48




5.1 Absolute liability

    (a) The liability of the Guarantor under this deed is absolute and is not subject to the
        performance of any condition precedent or subsequent, including any condition between
        the Guarantor and the Obligor.

    (b) This deed binds each entity who has executed it, despite:

        (i)   any entity, whether named as a party or not, not executing this deed or any
              Document;

        (ii) the execution of this deed or any Document by any person is invalid, forged or
             irregular in any way; or

        (iii) this deed or any Document is or becomes unenforceable, void or voidable against
              any other person.

5.2 Unconditional liability
Unless otherwise provided for in this deed, the liability of Guarantors will not be affected by an act,
omission, matter or thing which, but for this clause 5.2, might operate in law or in equity to release
the Guarantor from that liability or to reduce the Guarantor’s liability under this deed including, any
of the following:


    (a) (Event of Insolvency): the occurrence before, on or at any time after the date of this
        deed, of any Event of Insolvency in relation to any Obligor;

    (b) (Distribution): the receipt by Creditor of any payment, dividend or distribution under
        any Insolvency Provision in relation to any Obligor (other than payment in full of the
        Obligations);

    (c) (Event of Default): the occurrence of any Event of Default;

    (d) (Invalidity etc): any payment or other act, the making or doing of which would
        otherwise form part of the Obligations being or becoming or being conceded to be
        frustrated, illegal, invalid, void, voidable, unenforceable or irrecoverable in whole or in
        part for any reason whether past, present or future;

    (e) (Further Security): any party accepting or declining to accept any Security from any
        person at any time;

    (f) (Time or indulgence): any party granting time, waiver or other indulgence or
               Case 17-19348-RAM          Doc 1     Filed 07/26/17     Page 31 of 48




    concession to, or making any composition or compromise with, the Obligor;

(g) (Forbearance): Creditor not exercising or delaying (whether deliberately, negligently,
    unreasonably or otherwise) in the exercise of any Power it has for the enforcement of
    any Document or any Obligation;

(h) (Acquiescence or other omission): any laches, acquiescence or other act, neglect,
    default, omission or mistake by any Party;

(i) (Repudiation): the determination, rescission, repudiation or termination, or the
    acceptance of any of the foregoing, by any Party or the Obligor of any Document or any
    Obligation;

(j) (Variation): any variation to any Document or any Obligation, whether or not that
    variation is substantial or material, or imposes any additional liability on or
    disadvantages the Obligor;

(k) (Release): the full, partial or conditional release or discharge by the Parties or by
    operation of law, of any Obligor from any Document or any Obligation;

(1) (Security property): the release of any property from any Security or the substitution of
    any property in place of any other property the subject of a Security;

(m) (Security): the releasing, wasting, destroying, abandoning, prejudicing or not perfecting,
    maintaining, preserving, enforcing or realising or not properly enforcing or realising any
    Security;

(n) (Loss of Security): the failure to obtain any Security or the loss or impairment of any
    Security by operation of law or otherwise, whether or not the same is in breach of any
    express or implied condition to obtain or preserve that Security, or is in breach of any
    equitable duty which might otherwise have been imposed on the Security Trustee;

(o) (Priority of Securities): Creditor agreeing to the postponement or loss of any priority
    attaching to any Security;

(p) (Accounts): the opening or operation of any new account by the Obligor;

(q) (Change of constitution): any change in membership (whether by death or retirement of
    an existing member, admission of a new member, or otherwise) or in the name of any
    partnership, firm or association in which the Obligor is a member;

(r) (Transfer): the transfer, assignment or novation by Creditor or the Obligor of all or any
    of its rights or obligations under any Document or any Obligation;

(s) (Disclosure): any failure by Creditor to disclose to the Guarantor any material or
                   Case 17-19348-RAM          Doc 1     Filed 07/26/17      Page 32 of 48




        unusual fact, circumstance, event or thing known to, or which ought to have been known
        by, the parties relating to or affecting the Obligor at any time before or during the
        currency of this deed, whether prejudicial or not to the rights and liabilities of the
        Guarantor and whether or not Creditor under any duty to disclose that fact,
        circumstance, event or thing to the Guarantor or to the Obligor;

    (t) (Covenant not to take action): Creditor agreeing with the Obligor not to sue, issue
        process, sign or execute judgment, commence proceedings for bankruptcy or liquidation,
        participate in any administration, scheme or deed of arrangement or reconstruction,
        prove in any bankruptcy or liquidation, or do anything else in respect of the liability of
        the Obligor; or

5.3 Waiver of defences
The Guarantor waives any defence arising by reason of any disability or other defence or the cessation
from any cause whatsoever of the liability of any Debtor (other than payment in full of the Obligations),
or any claim that that Guarantor’s obligations exceed or are more burdensome than those of any Debtor
and waives the benefit of any statute of limitations affecting the liability of that Guarantor under this deed.

               6.       Governing Law. This Guaranty shall be governed by, and construed in
 accordance with, the laws of the State of New York without giving effect to the principles of conflicts of
 laws thereof.

                 IN WITNESS WHEREOF, Guarantor has duly executed this Guaranty as of this 9th day
 of June 2017.




                                                Johnnie Quaicoe
                                                Authorized Representative
                                                One57 79 Inc
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 33 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 34 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 35 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 36 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 37 of 48




                                                 Scanned by CamScanner
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 38 of 48




 Ali farooq
       Ceo




                                                 Scanned by CamScanner
             Case 17-19348-RAM         Doc 1     Filed 07/26/17    Page 39 of 48




                   ASSIGNMENT OF GUARANTY AND INDEMNITY


1.      Assignment of Guaranty and Indemnity agreement. Pursuant to that certain Guaranty and
Indemnity Agreement (the “Guaranty Agreement”) dated as of June 28th, 2015 by and between
NH Consulting & Engineering Sarl (“Assignor”) and ONE57 79 Inc, a New York corporation,
Assignor hereby transfers, assigns, conveys, and delivers to Campion Maverick Inc, 9551 E Bay
Harbor Drive, Miami Beech, Florida 33154 (“Assignee”) all of Assignor’s right, title, and
interest in and to the Security owned by Assignor (the “Security”).

2.    Defined Terms. Capitalized terms used but otherwise not defined herein shall have the
meaning ascribed to them in the Purchase Agreement.

3.     Acceptance of Assignment. Assignee hereby accepts the assignment to it of the Security.

4.     Further Assurances. Assignor and Assignee agree to execute such other documents and
perform such other acts as may be reasonably necessary or proper and usual to effect this
Assignment.

5.     Governing Law. This Assignment shall be governed by and construed in accordance
with the laws of the State of New York.

6.      Successors and Assigns. This Assignment shall be binding upon and shall inure to the
benefit of Assignor and Assignee and their respective personal representatives, heirs, successors
and assigns.

7.     Counterparts. This Assignment may be executed in two or more counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument, and shall become effective when there exist copies hereof which, when taken
together, bear the authorized signatures of each of the parties hereto. Only one such counterpart
signed by the party against whom enforceability is sought needs to be produced to evidence the
existence of this Assignment.

                                   [Signature Page Follows]
                      Case 17-19348-RAM     Doc 1   Filed 07/26/17   Page 40 of 48




       IN WITNESS WHEREOF, Assignor and Assignee have executed this Assignment as of
June 20, 2017.

                                          ASSIGNOR:

                                          NH Consulting & Engineering Sarl

                                          By:    ________________________
                                                  Ndoba Herve
                                          Name: ________________________
                                          Title: ________________________
                                                     Director

                                          ASSIGNEE:


                                          Campion Maverick Inc.

                                          By:    ________________________
                                                     Ali farooq
                                          Name: ________________________
                                                       Ceo
                                          Title: ________________________




#1067527 v4 \17401 \012
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 41 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 42 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 43 of 48
Case 17-19348-RAM   Doc 1   Filed 07/26/17   Page 44 of 48
                Case 17-19348-RAM         Doc 1    Filed 07/26/17    Page 45 of 48



                      ASSIGNMENT OF GUARANTY AND INDEMNITY


        1.      Assignment of Guaranty and Indemnity agreement. Pursuant to that certain Guaranty
and Indemnity Agreement (the “Guaranty Agreement”) dated as of November 9th, 2015 by and
between La Choral Sarl (“Assignor”) and Kolawale Aluko, Assignor hereby transfers, assigns,
conveys, and delivers to NH Consulting & Engineering Sarl (“Assignee”) all of Assignor’s right, title,
and interest in and to the Security owned by Assignor (the “Security”).

      2.      Defined Terms. Capitalized terms used but otherwise not defined herein shall have the
meaning ascribed to them in the Purchase Agreement.

       3.     Acceptance of Assignment.       Assignee hereby accepts the assignment to it of the
Security.

       4.     Further Assurances. Assignor and Assignee agree to execute such other documents and
perform such other acts as may be reasonably necessary or proper and usual to effect this Assignment.

       5.      Governing Law. This Assignment shall be governed by and construed in accordance
with the laws of the State of New York.

        6.     Successors and Assigns. This Assignment shall be binding upon and shall inure to the
benefit of Assignor and Assignee and their respective personal representatives, heirs, successors and
assigns.

       7.      Counterparts. This Assignment may be executed in two or more counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument, and shall become effective when there exist copies hereof which, when taken together,
bear the authorized signatures of each of the parties hereto. Only one such counterpart signed by the
party against whom enforceability is sought needs to be produced to evidence the existence of this
Assignment.

                                      [Signature Page Follows]
           Case 17-19348-RAM      Doc 1       Filed 07/26/17   Page 46 of 48




                             gnor and Assignee have executed this Assignment as of
     IN WITNESS WHEREOF, Assignor
  th
12 November, 2015.

                                ASSIGNOR:

                                LA CHORAL
                                   CHOR
                                     ORAL
                                     OR AL SARL
                                              L

                                By::
                                By     ________________________
                                       ____
                                       __ ____
                                          __ ____
                                             __ ______
                                                __  ____
                                                    __ ____________
                                                       __
                                Name: ________________________
                                Title: ________________________
                                                   _______________



                                ASSIGNEE:
                                    GNEE


                                NH Consulting & Engineering Sarl



                                By::   ________________________
                                       ______
                                           ____
                                           __ ____
                                              __ ____
                                                 __ ____
                                                    __ ______
                                                       __    ____
                                                             __ ______
                                       ________________________
                                Name: __________________
                                              __          __________
                                                          __
                                Title: ________________________
                                            ___________________




                                          2
             Case 17-19348-RAM          Doc 1    Filed 07/26/17     Page 47 of 48




                    ASSIGNMENT OF GUARANTY AND INDEMNITY


1.      Assignment of Guaranty and Indemnity agreement. Pursuant to that certain Guaranty and
Indemnity Agreement (the “Guaranty Agreement”) dated as of June 9th, 2015 by and between
NH Consulting & Engineering Sarl (“Assignor”) and Kolawale Aluko, Assignor hereby
transfers, assigns, conveys, and delivers to Campion Maverick Inc, 9551 E Bay Harbor Drive,
Miami Beech, Florida 33154 (“Assignee”) all of Assignor’s right, title, and interest in and to the
Security owned by Assignor (the “Security”).

2.    Defined Terms. Capitalized terms used but otherwise not defined herein shall have the
meaning ascribed to them in the Purchase Agreement.

3.     Acceptance of Assignment. Assignee hereby accepts the assignment to it of the Security.

4.     Further Assurances. Assignor and Assignee agree to execute such other documents and
perform such other acts as may be reasonably necessary or proper and usual to effect this
Assignment.

5.     Governing Law. This Assignment shall be governed by and construed in accordance
with the laws of the State of New York.

6.      Successors and Assigns. This Assignment shall be binding upon and shall inure to the
benefit of Assignor and Assignee and their respective personal representatives, heirs, successors
and assigns.

7.     Counterparts. This Assignment may be executed in two or more counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument, and shall become effective when there exist copies hereof which, when taken
together, bear the authorized signatures of each of the parties hereto. Only one such counterpart
signed by the party against whom enforceability is sought needs to be produced to evidence the
existence of this Assignment.

                                    [Signature Page Follows]
                      Case 17-19348-RAM     Doc 1     Filed 07/26/17     Page 48 of 48




       IN WITNESS WHEREOF, Assignor and Assignee have executed this Assignment as of
June 20, 2017.

                                          ASSIGNOR:

                                                          Engineering
                                          NH Consulting & Engin
                                                             inee
                                                             in eeri
                                                                eering
                                                                  ri ng Sarl
                                                                        Sar
                                                                        S arll
                                                                          ar

                                          By:    ________________________
                                                 ____
                                                   ____
                                                   __ ____
                                                      __ ____
                                                         __ ____
                                                            __ ____
                                                               __ ____
                                                                  __ ____
                                                                     __ ________
                                                                        __
                                                 ________________________
                                          Name: __
                                                 ____
                                                   ____
                                                   __ ____
                                                      __ __________________
                                                         __
                                          Title:
                                            tle: ________________________
                                          Titl
                                            tl



                                          ASSIGNEE:


                                          Campion
                                              ionn Maverick Inc.

                                          By:    ________________________
                                                 ____
                                                 __ ____
                                                    __ ____
                                                       __ ____
                                                          __ ______
                                                             __  ____________
                                                                 __
                                          Name: ________________________
                                          Title: ________________________




#1067527 v4 \17401 \012
